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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 CHRISTINE JU,

                           Plaintiff,
                                                            ORDER
               - against –
                                                      20 Civ. 29 (NRB)
 MICHAEL CAPURSO,

                      Defendant.
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 NAOMI REICE BUCHWALD
 UNITED STATES DISTRICT JUDGE

     It having been reported to this Court that this case has been

settled, it is

     ORDERED that the above-captioned action be, and hereby is,

dismissed without costs and without prejudice to restoring the

action to this Court’s calendar if the application to restore the

action is made within 30 days.



DATED:       New York, New York
             January 28, 2021




                                    ________________________________
                                          NAOMI REICE BUCHWALD
                                      UNITED STATES DISTRICT JUDGE
